                    Case 4:05-cr-00121-JRH-GRS Document 104 Filed 03/11/19 Page 1 of 1
GASD Firsi Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(B)          Page 1 of2(Page 2 Not for Public Disclosure)

                                       United States District CouR^^-^inu^T^oiT
                                                                         for the

                                                          Southern District of Georgia
                                                                                                                   2fll9HARl l PH3--02
                                                                Savannah Division

                                                                                                                          SO.O-v!. Ur
                      United States of America
                                     V.                                      )
                                                                             ) Case No:         4:05CR00121-1
                       Terence Devon Hamilton                                )
                                                                             ) USMNo: 12313-02L
Date of Original Judgment:                         Febru^ 13,^006 _ ^
Date of Previous Amended Judgment: December 14,2015 ^ Michael Schiavone                                                            _           __ _
(Use Dale ofLast Amended Judgment ifAny)                                         Defendant s Attorney

                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C.§ 3582(c)(1)(B)

       Upon motion of □ the defendant □ the Director of the Bureau of Prisons ^ the court under 18 U.S.C.
§ 3582(c)( 1 ){B) for a reduction In the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115-391, and
 having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10 and the
 sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
 IT IS ORDERED that the motion Is:
           □ DENIED. (El GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
 the lastJudgment issued) of    200          _ _ months is reduced to            ^me_s^ved __              .
                                               (Complete Parts / and I! of Page 2 when motion is granted)
 In addition to reducing the imprisonment term as noted above, the previously imposed term of supervised release
 is reduced to a term of_3_ years.




 Except as otherwise provided, all provisions of the judgment dated                        Februaiy 13, 2006, shall remain in effect.
 IT IS SO ORDERED.

 Order Date:
                                                                                                                    signature



  Effective Date:                                                      J. Randal Hall, Chief Judge
                                                                        United States District Court
                                                                        Southern District of Geo^ia            _
                       (ifdifferent from order date)                                                      Printed name and title
